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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                 Plaintiff,                           4:15-CR-3010
     vs.
                                                         ORDER
MARISELA PESCADOR,
                 Defendant.


      IT IS ORDERED that:

      1.   The defendant's unopposed Motion to Continue Sentencing
           (filing 161) is granted.

      2.   Defendant Marisela Pescador's sentencing is continued to
           December 16, 2016, at 10:30 a.m., before the undersigned United
           States District Judge, in Courtroom No. 1, Robert V. Denney
           United States Courthouse and Federal Building, 100 Centennial
           Mall North, Lincoln, Nebraska. The defendant shall be present at
           the hearing.

      Dated this 13th day of October, 2016.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
